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JUL 1-9 2023

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IN THE UNITED STATES DISTRICT COURT HMON

FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
UNITED STATES OF AMERICA
v. CRIMINAL NO. 3:23-cr-QQ2_

KULBIR KAUR,
also known as “LOVELY,” 18 ULS.C. §§ 1594(b) and 1589
(Counts 1-7) Conspiracy to Commit Forced Labor

(Count 1)
and

18 U.S.C. §§ 1589, 1594(a), and 2
HARMANPREET SINGH Forced Labor

(Counts 1-7) (Count 2)

Defendants.
8 U.S.C. § 1324 and 18 U.S.C. § 2
Harboring an Alien for Financial Gain

(Count 3)

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) 18 U.S.C. § 1592 and 2

) Document Servitude

) (Count 4)

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) 18 U.S.C. § 1597 and 2

) Unlawful Conduct with Respect to
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Immigration Documents
(Count 5)

18 U.S.C. § 371

Conspiracy to Commit Bankruptcy Fraud
and Make Fraudulent Transfers In
Contemplation of Bankruptcy

(Count 6)

18 U.S.C. § 152(7) and 2

Fraudulent Transfers in Contemplation of
Bankruptcy

(Count 7)

Forfeiture Allegation
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INDICTMENT
July 2023 Term — At Richmond, Virginia
THE GRAND JURY CHARGES THAT:

INTRODUCTION

At all times relevant to this Indictment:

1. Defendants, KULBIR KAUR (also known as “LOVELY”) and
HARMANPREET SINGH (individually, “KAUR” and “SINGH,” respectively, and collectively,
“defendants”), were residents of Chesterfield, Virginia, within the Eastern District of Virginia.
On or about February 19, 2014, KAUR and SINGH married each other in Chesterfield, Virginia,
and KAUR and SIN GH subsequently had two children together.

2. B.S., whose identity is known to the Grand Jury, was SINGH’s cousin. B.S. was
a citizen of India. B.S.’s Indian passport listed his birth year as 2001.

3. On February 3, 2017, the U.S. Government issued B.S. a B-1/B-2 nonimmigrant
visa (“NIV”). B.S.’s Indian passport, to which the B-1/B-2 NIV was affixed, expired on
February 3, 2019.

4, A B-1/B-2 NIV, commonly known as a “visitor visa,” permits individuals to enter
the United States temporarily for purposes of tourism or brief business. Individuals who enter
the United States on B-1/B-2 NIVs are not permitted to work while in the United States. An
individual who remains in the United States past the expiration of his or her B-1/B-2 NIV

remains in the United States in violation of law.
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COUNT ONE
(Conspiracy to Commit Forced Labor)

5. The allegations set forth in the Introduction are realleged as if fully set forth
herein.

6. From in or about February 2018, and continuing until on or about December 14,
2021, within the Eastern District of Virginia and elsewhere, defendants KULBIR KAUR (also
known as “LOVELY”) and HARMANPREET SINGH, together and with others known and
unknown to the Grand Jury, did knowingly and intentionally combine, confederate, conspire, and
agree with each other to provide and obtain the labor and services of B.S. by means of force,
threats of force, physical restraint, and threats of physical restraint to B.S. and any other person;
serious harm and threats of serious harm to B.S. and any other person; the abuse and threatened
abuse of law and legal process; and a scheme, plan, and pattern intended to cause B.S. to believe
that, if B.S. did not perform such labor and services, B.S. and any other person would suffer
serious harm, in violation of Title 18, United States Code, Section 1589.

The Object of the Conspiracy

7. The object of the conspiracy was to obtain and maintain the labor and services of

B.S. at a gas station and convenience store owned by SINGH in North Chesterfield, Virginia

(hereafter, the “Lovely Market”), within the Eastern District of Virginia, for minimal

compensation.
The Manner and Means of the Conspiracy
8. The manner and means by which the co-conspirators carried out the object of the

conspiracy included, but were not limited to, the following:
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a. The defendants, together with others known and unknown to the Grand J ury,
accompanied B.S. into the United States after falsely assuring B.S. and his parents
that they would help B.S. enroll in school in the United States. Once in the
United States, the defendants continued to falsely promise B.S. that they were
trying to enroll him in school.

b. The defendants, together with others known and unknown to the Grand Jury,
compelled B.S. to provide labor and services at the Lovely Market, including
cleaning, operating the kitchen to prepare fried chicken, acting as cashier, and
managing store records.

c. After arriving in the United States, the defendants, together with others known
and unknown to the Grand Jury, confiscated, possessed, and maintained control of
B.S.’s passport and other immigration documents. The defendants retained
control of B.S.’s passport and visitor visa even after these documents expired.
Thereafter, the defendants used the threat of legal consequences stemming from
B.S.’s immigration status to compel B.S.’s work.

d. The defendants, together with others known and unknown to the Grand Jury,
isolated B.S. and compelled B.S. to live, at times, in degrading living conditions
by, among other things: (1) making B.S. work extensive hours; (2) only
permitting B.S. to talk about certain things with others at the store; (3) monitoring
B.S.’s activity, including through video and audio surveillance in the store; (4)
limiting B.S.’s access to the internet and communications at times; (5) instructing
B.S. to not discuss his work conditions and lack of attendance at school with
others; (6) leaving B.S. without transportation; (7) leaving B.S. to, on occasion,

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sleep overnight on a mattress in a small office of the Lovely Market; (8) limiting
B.S.’s financial resources by not paying him directly and by confiscating B.S.’s
money accumulated from gratuities earned at the Lovely Market; (9) restricting
B.S.’s access to certain food and, at times, requiring B.S. to obtain meals from
items stocked at the Lovely Market convenience store; and (10) withholding
medical care from B.S.

e. The defendants, together with others known and unknown to the Grand Jury,
created a climate of fear to induce B.S. to continue working at the Lovely Market,
including by threatening B.S. with physical abuse and death and by subjecting
B.S. to physical, verbal, and psychological abuse.

f. The defendants, together with others known and unknown to the Grand Jury,
controlled B.S. by compelling him to marry KAUR and then using that marriage
to further threaten B.S., including by threatening to use the marital status to take
away B.S.’s family’s property in India.

g. KAUR made false allegations against B.S. with law enforcement authorities in an
attempt to cover up the defendants’ criminal conduct and to cast doubt on B.S.’s
credibility.

h. The defendants made false statements to law enforcement to conceal the fact and
nature of B.S.’s work at the Lovely Market.

Overt Acts
9. In furtherance of the conspiracy and to accomplish the object of the conspiracy, at
least one of the defendants committed and caused to be committed at least one of the following

overt acts, among others, in the Eastern District of Virginia and elsewhere:

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a. In or about February 2018, KAUR and SINGH, together with others known and
unknown to the Grand Jury, falsely represented to B.S. and bis parents that they
would help B.S. enroll in school in the United States.

b. In or about February 2018, KAUR and SINGH, together with others known and
unknown to the Grand Jury, traveled with B.S. from New Delhi, India, to the
Dulles International Airport, within the Eastern District of Virginia.

c. On or about February 28, 2018, after arriving in the United States, KAUR took
possession of B.S.’s passport and B-1/B-2 NIV after passing through customs
screening, and the defendants possessed and maintained control of those
documents until on or about May 24, 2021.

d. From on or about March 1, 2018, and continuing through in or about May 2021,
KAUR and SINGH required B.S. to work extensive hours at the Lovely Market.
Throughout this time, KAUR and SINGH both sent instructions to B.S. regarding
the day-to-day management of the store.

e. After arriving in the United States, KAUR and SINGH instructed B.S. to lie to his
parents and tell them that he was indeed attending school, so as not to arouse
suspicion.

f. Just three weeks after B.S. arrived in the United States, in or about March 2018,
B.S. requested his passport back from the defendants in order to leave and return
to India. The defendants refused to return B.S.’s passport and SINGH physically
kicked B.S.

g. Thereafter, the defendants repeatedly refused to return B.S.’s passport and
B-1/B-2 NIV and continued to falsely promise B.S. that they would enroll him in

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school. The defendants caused B.S. to remain in the United States past the
expiration of his passport and B-1/B-2 NIV in February 2019 in violation of law.

h. After the expiration of B.S.’s passport and B-1/B-2 NIV, the defendants
threatened B.S. with immigration consequences related to B.S.’s lack of current
immigration documents to induce B.S. to continue working.

i. Throughout the time that B.S. resided with SINGH and KAUR in the United
States, the defendants did not directly pay B.S. any wages for his labor and
services, or allow B.S. to keep gratuities provided to B.S. by customers of the

Lovely Market for B.S.’s work at the store. The defendants only made several,
iregular payments to B.S.’s parents that amounted to a fraction of what B.S.
would have been owed for his labor and services.

j. Throughout the time that B.S. resided with SINGH and KAUR in the United
States, the defendants would, on occasion, force B.S. to sleep overnight on a
mattress in a small office at the Lovely Market.

k. Throughout the time that B.S. resided with SINGH and KAUR in the United
States, the defendants consistently physically and mentally abused B.S. when B.S.
complained to the defendants about working and not being enrolled in school, and
when B.S. requested his passport be returned so that he could leave the United
States and return home to India.

1. Inor about August 2019, SINGH physically abused and threatened B.S. to

compel him to marry KAUR.
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m. On or about August 19, 2019, the defendants compelled B.S., who had by then
turned 18 years old, to marry KAUR in a civil ceremony taking place at the
defendants’ residence.

n. After this marriage, KAUR threatened B.S., stating that she would use her marital
status to confiscate B.S.’s family’s property in India if B.S. left.

o. In or about January 2021, KAUR reported to SINGH that B.S. was trying to take
a day off work due to illness, and SINGH later threatened B.S. with a firearm to
ensure that B.S. continued working.

p. In or about February 2021, when SINGH learned that B.S. had told a Lovely
Market customer not to give B.S. any gratuities because the defendants were
confiscating B.S.’s gratuities, SINGH threatened B.S. with a firearm.

q. In or about June 2021, KAUR filed a false law enforcement complaint against
B.S. mm an attempt to cover up the defendants’ criminal conduct and to cast doubt
on B.S.’s credibility. The complaint alleged, among other things, that B.S. took
KAUR’s jewelry and abused KAUR and her children.

r. Qnor about December 14, 2021, the defendants made false statements to law
enforcement to conceal the fact and nature of B.S.’s work at the Lovely Market.
For instance, SINGH stated that B.S. did not work at the Lovely Market, and
KAUR stated that she had “no idea” whether B.S. worked at the Lovely Market;
both SINGH and KAUR knew these statements to be false.

(All in violation of Title 18, United States Code, Sections 1594(b) and 1589.)
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COUNT TWO
(Forced Labor)

10. _—‘ The allegations set forth in the Introduction and Count One, including sub-
paragraphs, are realleged as if fully set forth herein.

11. From in or about March 2018, and continuing through in or about May 2021,
within the Eastern District of Virginia and elsewhere, defendants KULBIR KAUR (also known
as “LOVELY”) and HARMANPREET SINGH, aiding and abetting each other, attempted to and
did knowingly provide and obtain the labor and services of B.S. by means of force, threats of
force, physical restraint, and threats of physical restraint to B.S. and any other person; serious
harm and threats of serious harm to B.S. and any other person; the abuse and threatened abuse of
law and legal process; and a scheme, plan, and pattern intended to cause B.S. to believe that, if
B.S. did not perform such labor and services, B.S. and any other person would suffer serious
harm.

(All in violation of Title 18, United States Code, Sections 1589, 1594(a), and 2.)

COUNT THREE
(Harboring an Alien for Financial Gain)

12.‘ The allegations set forth in the Introduction and Paragraphs 7 through 9 of Count
One, including sub-paragraphs, are realleged as if fully set forth herein.

13. From in or about March 2018, and continuing through in or about May 2021,
within the Eastern District of Virginia and elsewhere, defendants KULBIR KAUR (also known
as “LOVELY”) and HARMANPREET SINGH, aiding and abetting each other and others known
and unknown to the Grand Jury, knowing and in reckless disregard of the fact that an alien,

namely, B.S., had come to, entered, and remained in the United States in violation of law,
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attempted to and did conceal, harbor, and shield B.S. from detection in buildings and other
places for the purpose of private financial gain.

(All in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii1) and
1324(a)(1)(B)(i), and Title 18, United States Code, Section 2.)

COUNT FOUR
(Document Servitude)

14. The allegations set forth in the Introduction and Counts One and Two, including
sub-paragraphs, are realleged as if fully set forth herein.

15. From in or about February 2018, and continuing through in or about May 2021,
within the Eastern District of Virginia and elsewhere, defendants KULBIR KAUR (also known
as “LOVELY”) and HARMANPREET SINGH, aiding and abetting each other and others known
and unknown to the Grand Jury, did knowingly conceal, remove, confiscate, and possess actual
passports and other immigration documents, and other actual government identification
documents, of B.S.: (a) in the course of violations of Title 18, United States Code, Sections 1589
and 1594(a); and (b) with the intent to violate Title 18, United States Code, Sections 1589.

(All in violation of Title 18, United States Code, Sections 1592 and 2.)

COUNT FIVE
(Unlawful Conduct with Respect to Immigration Documents)

16. The allegations set forth in the Introduction, Paragraphs 7 through 9 on Count
One, and Count Three, including sub-paragraphs, are realleged as if fully set forth herein.

17. From in or about February 2018, and continuing through in or about May 2021,
within the Eastern District of Virginia and elsewhere, defendants KULBIR KAUR (also known
as “LOVELY”) and HARMANPREET SINGH, aiding and abetting each other and others known

and unknown to the Grand Jury, did knowingly conceal, remove, confiscate, and possess actual

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passports and other immigration documents of B.S.: (a) in the course of violations of
Title 8, United States Code, Section 1324; and (b) with the intent to violate
Title 8, United States Code, Section 1324.
(All in violation of Title 18, United States Code, Sections 1597 and 2.)
COUNT SIX
(Conspiracy to Commit Bankruptcy Fraud and Make Fraudulent Transfers in
Contemplation of Bankruptcy)

18. The allegations set forth in the Introduction and Paragraphs 7 through 9 of Count
One, including sub-paragraphs, are realleged as if fully set forth herein.

19. KULBIR KAUR (also known as “LOVELY”), HARMANPREET SINGH, and
other co-conspirators, known and unknown, beginning at a time unknown, but no later than in or
about May 2018, and continuing through on or about April 13, 2021, in the Eastern District of
Virginia and elsewhere, did knowingly and intentionally combine, conspire, confederate, and
agree with individuals, both known and unknown, to commit offenses against the United States,
to wit: (1) Bankruptcy Fraud, that is, to knowingly devise a scheme to defraud in relation to a
bankruptcy proceeding, in violation of 18 U.S.C. § 157; and (2) Fraudulent Transfers in
Contemplation of Bankruptcy, that is, to knowingly and fraudulently conceal and transfer
property belonging to the estate of a debtor, in violation of 18 U.S.C. § 152(7).

Underlying Bankruptcy Definitions and Processes

20. Bankruptcy is a process by which a debtor (e,¢., an individual filing for
bankruptcy) obtains relief from its creditors (those who are owed money by the debtor). The
process is designed to achieve the orderly transfer of a debtor’s assets to creditors from available
assets truthfully disclosed by the debtor, and to provide a “fresh start” to honest debtors,
allowing those individuals to obtain a discharge of debt incurred prior to the debtor’s filing for

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bankruptcy. The process is conducted in a federal court and is governed by the United States
Bankruptcy Code, which is found in Title 11 of the United States Code.

21. Chapter 7 bankruptcy cases are designed to liquidate all of a debtor’s assets and
distribute the proceeds they generate to creditors. The Office of the United States Trustee
appoints and oversees trustees in Chapter 7 cases (the “Chapter 7 Trustee”); that Chapter 7
Trustee gathers assets and generally acts on behalf of unsecured creditors. Secured creditors
(those holding liens or mortgages) are typically represented by attorneys.

22. The Chapter 7 Trustee gathers and sells the debtor’s nonexempt assets and uses
the proceeds from the sale of such assets to pay creditors. Part of the debtor's property may be
subject to liens and mortgages that pledge the property to other creditors. In addition, the
Bankruptcy Code allows the debtor to keep certain “exempt” property; but a trustee will liquidate
the debtor’s remaining non-exempt assets. Accordingly, debtors should realize that the filing of a
petition under Chapter 7 may result in the loss of property. The benefit to a debtor under
Chapter 7 is the issuance of a discharge by the Bankruptcy Court, which prevents creditors from
pursuing the collection of debts incurred before the bankruptcy was filed.

23. Creditors will only be paid from the proceeds of the debtor’s estate obtained by
the Chapter 7 Trustee (“bankruptcy estate”). Accordingly, when a debtor or debtors file a
Chapter 7 bankruptcy petition, they are not allowed to remain in possession of the property
comprising the bankruptcy estate or to conceal assets of the bankruptcy estate. Nor is the debtor
allowed to transfer assets out of the bankruptcy estate in contemplation of filing a bankruptcy
petition.

24. A debtor is required to complete and file several documents with the Bankruptcy
Court to carry out the bankruptcy process. These documents consist of a Petition, which

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contains summary information about the debtor’s financial condition, various Bankruptcy
Schedules, and a Statement of Financial Affairs. These documents contain, among other things,
detailed information about the debtor’s assets, liabilities, recent payments to creditors, past and
current income, and anticipated future income. The Petition, Statement of Financial Affairs, and
Bankruptcy Schedules are required to be signed by the debtor and certified under penalty of
perjury that the information contained in them is true and correct.

25. As part of the bankruptcy process, every debtor must submit to a meeting
conducted by the Chapter 7 Trustee or an employee of the United States Trustee’s Office who is
assigned to oversee and to administer the bankruptcy case. At this meeting, referred to as a
“creditors’ meeting” or a “341 meeting,” the debtor is placed under oath and questioned about
the information contained in the bankruptcy documents and about the debtor’s general financial
condition.

Purpose of the Scheme and Artifice to Defraud

26. The purpose of the scheme was for KAUR, SINGH, and their co-conspirators,
known and unknown, to: (1) unlawfully enrich themselves at the expense of creditors through the
bankruptcy process; and (2) conceal the true ownership of assets and liabilities to defeat controls
put in place to ensure the integrity of the bankruptcy process.

The Manner and Means of the Scheme and Artifice to Defraud

27. | The manner and means of the scheme and artifice to defraud mcluded, but were
not limited to, the following: (1) transferring and attempting to transfer KAUR’s assets to
SINGH in contemplation of KAUR’s filing for bankruptcy; (2) transferring and attempting to
transfer SINGH’s liabilities to KAUR in contemplation of KAUR’s filing for bankruptcy; (3)
filing for a sham divorce to effectuate the above-mentioned transfers of assets and liabilities; (4)

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filing a Chapter 7 bankruptcy petition with materially false statements and representations and
making other material false statements under oath; (5) running up credit card debt, both before
and after KAUR filed a petition for Chapter 7 bankruptcy; and (6) concealing information from
and lying to the Chapter 7 Trustee, the United States Trustee’s Office, and the United States
Bankruptcy Court.

Conduct in Furtherance of the Scheme and Artifice to Defraud

A. KAUR and SINGH conducted fraudulent transactions in contemplation of bankruptcy.

28. On or about November 27, 2013, KAUR purchased a single-family dwelling in
Chesterfield, Virginia (hereinafter HOME 1), obtaining a mortgage in her own name only. No
other individuals were listed on the deed for HOME 1. On or about February 19, 2014, KAUR
and SINGH married each other in Chesterfield, Virginia. On or about August 9, 2018, in
anticipation of KAUR’s future bankruptcy filing, KAUR transferred the deed to HOME 1 to
SINGH, receiving no money in exchange. At the time of the transfer, KAUR had accumulated at
least $70,000 in home equity in HOME 1.

29. Beginning at least as early as May 10, 2018, and continuing through at least on or
about January 11, 2019, KAUR and SINGH made numerous purchases on credit cards in the
lead-up to KAUR filing for bankruptcy. For instance, on or about May 27, 2018, the defendants
made two purchases totaling $11,431 for jewelry at Karan Jewelers in Jackson Heights, New
York, using an American Express card in SINGH’s name (card number ending in -1011).
During this same timeframe, KAUR and SINGH also made numerous credit card purchases for

the Lovely Market in the lead-up to KAUR filing for bankruptcy:

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a. On or about May 10, 2018, KAUR made an $18,372 purchase on a
Discover Card in her name (card number ending in -6041) for
maintenance servicing related to the Lovely Market gas station.

b. On or about May 21, 2018, KAUR made a $3,121 purchase at Sam’s Club
on a Synchrony Bank Card in her name (account ending -2340) for
tobacco products for the Lovely Market. Notably, the address on these
card statements was the address of the Lovely Market.

c. On or about June 18, 2018, KAUR made a $231.61 purchase on an
American Express card in her name (card number ending in -3009) for
maintenance servicing related to the Lovely Market gas station.

d. On or about July 31, 2018, KAUR made a $785.95 purchase on a Chase
card in SINGH’s name (account number ending in -8388) for maintenance
servicing related to the Lovely Market gas station.

e. On or about September 19, 2018, SINGH bought $4,590.65 worth of
tobacco products from Costco for the Lovely Market using a Chase card in
his name (account number ending in -4867).

f. On or about January 11, 2019, SINGH bought $1,062.74 worth of tobacco
products from Costco for the Lovely Market using a Chase card in his
name (account number ending in -8388).

B. KAUR and SINGH moved the couple’s entire debt to KAUR and assets to SINGH.
30.  Onor about January 22, 2019, KAUR and SINGH prepared and executed a
property settlement agreement and separation agreement (“PSA”), purportedly in contemplation
of divorce. The PSA stated in relevant part that KAUR was assigned all of the couples’ credit

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card debt. Assets that previously belonged to KAUR, including HOME 1, were assigned to
SINGH for no money in exchange. The PSA claimed that KAUR and SINGH separated from
each other on December 20, 2017, and that the defendants “are now living separate and apart
from each other, and have voluntarily and mutually agreed to contime to live separate and
apart...” In truth, KAUR and SINGH continued to live together after December 20, 2017.

31. KAUR and SINGH thereafter filed a divorce petition in Chesterfield County
Circuit Court along with the PSA. KAUR prepared all the documents for the divorce filing and
neither party was represented by counsel. In the divorce filing, SINGH was falsely listed as
residing at the address of the Lovely Market. On February 6, 2019, the Chesterfield County
Circuit Court finalized an uncontested, no-fault divorce between SINGH and KAUR. The
divorce decree incorporated the terms of the above-described PSA.

32. On about February 11, 2019, less than a week after the divorce was finalized,
KAUR filed and caused to be filed in the United States Bankruptcy Court for the Eastem District
of Virginia a voluntary bankruptcy petition under Chapter 7 of the United States Bankruptcy
Code in the proceeding entitled In re Kulbir Kaur, Case No. 19-30710-KRH.

C. KAUR lied throughout the bankruptcy process.

33. The Chapter 7 bankruptcy petition contained swom statements KAUR made
under penalty of perjury. Thereafter, on or about April 16, 2019, in furtherance of this scheme
and in an effort to obtain the Bankruptcy Court’s approval of the Chapter 7 bankruptcy petition,
KAUR gave sworn testimony, under oath and penalty of perjury, at a 341 meeting conducted by

a representative of the United States Trustee’s Office (hereafter “341 meeting”).

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34. | KAUR made false and misleading statements throughout her Chapter 7
bankruptcy petition and throughout the 341 meeting in order to hide the nature of the defendants’
credit card debt. For example:

a. In her Chapter 7 bankruptcy petition, KAUR falsely claimed that the debt
associated with KAUR and SINGH’s credit cards was incurred by KAUR
only. KAUR further falsely claimed that she did not have any co-debtors
for the credit card debt —i.e., “people or entities who are also liable for
any debts you may have.”

b. In her 341 meeting, KAUR falsely claimed to have not made purchases
related to the Lovely Market, which KAUR claimed was solely owned and
run by SINGH. When asked, “What were you buying?” KAUR
responded, “Just stuff for the home, grocery.” In truth and in fact, as
KAUR well knew, despite her disavowal of any responsibility for the
Lovely Market, her credit card debt consisted of many expenditures for the
Lovely Market, including servicing costs for the gas station equipment and
tobacco products.

c. In her 341 meeting, to further distance herself from Lovely Market related
expenditures, KAUR falsely claimed that she never was an employee,
owner, or officer of Lovely Market. KAUR also falsely claimed that she
never worked at the Lovely Market without pay. In truth and in fact,
KAUR routinely corresponded with vendors and contractors on behalf of
the Lovely Market. KAUR also sent numerous written instructions to B.S.

concerning the day-to-day operations of Lovely Market.

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35. KAUR made false and misleading statements throughout her Chapter 7
bankruptcy petition and throughout the 341 meeting to hide the ownership of HOME 1 and the
accumulated home equity. For example:

a. In her Chapter 7 bankruptcy petition, KAUR falsely claimed that “she
thought since [SINGH] made all the [mortgage] payments that she must
deed [HOME 1] to him.”

b. In her 341 meeting, KAUR falsely claimed that SINGH made the
mortgage payments for HOME 1. In truth and in fact, KAUR bought
HOME 1 in her own name alone and made mortgage payments for
HOME 1 from her Wells Fargo account (account ending -5012). KAUR
was the only authorized user of this account.

36. KAUR made false and misleading statements throughout the Chapter 7
bankruptcy petition and throughout the 341 meeting to misrepresent the nature of her
relationship with SINGH and to further legitimize the bankruptcy. For example:

a. Inher 341 meeting, KAUR falsely stated that she was in the process of
moving to another residence, separate from SINGH. KAUR further
represented during the bankruptcy process, through her attorney, that she
suffered abuse at the hands of SINGH to lend credibility to the purported
separation. In truth and in fact, KAUR and SINGH both moved to a new
residence that SINGH purchased and continued to cohabit through at least
December of 2021. KAUR and SINGH further went on a roughly six-
month vacation to India together in or about January 2020, while the
bankruptcy proceeding was pending.

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b. The Chapter 7 bankruptcy petition further stated that the “debtor is in the
process of divorce from her husband,” stating that the defendants
“separated in 2018.” In truth and in fact, though the sham divorce had
been finalized by the Chesterfield County Circuit Court five days before
the filing of the Chapter 7 bankruptcy petition, the defendants continued to
live together.
D. KAUR and SINGH conducted fraudulent transactions after filing for bankruptcy.

37. After KAUR filed a Chapter 7 bankruptcy petition and assumed all the credit card
debt of SINGH, the defendants continued to run up their credit card debts. For instance, on or
about March 22, 2019, SINGH bought $2,114.12 worth of tobacco products from Costco for the
Lovely Market using a Chase card in KAUR’s name (account ending in -4152). KAUR claimed
this credit card as belonging to KAUR on her Chapter 7 bankruptcy petition.

38. Onor about August 14, 2019, SINGH paid $18,000 and caused the corporate
entity of Lovely Market to pay $6,000 to settle KAUR’s bankruptcy estate’s claims against
SINGH pertaining to HOME 1. In truth and in fact, this $24,000 was a fraction of the actual
existent home equity in HOME 1.

39. Onor about August 14, 2020, the United States Bankruptcy Court granted KAUR
a discharge of all debts, including credit card debt on behalf of KAUR and SINGH.

40. Onor about April 13, 2021, SINGH transferred back the deed to HOME 1| to
KAUR for no money in exchange. Thereafter, KAUR continued to own HOME 1.

(All in violation of Title 18, United States Code, Section 371.)

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COUNT SEVEN
(Fraudulent Transfers in Contemplation of Bankruptcy)

4]. The allegations set forth in the Introduction and Count Six, including sub-
paragraphs, are realleged as if fully set forth herein.

42. On or about August 9, 2018, in the Eastern District of Virginia, KULBIR KAUR
(also known as “LOVELY”) and HARMANPREET SINGH, defendants herein, aided and
abetted by each other, in contemplation of filing a bankruptcy case under Title 11 of the United
States Code, specifically the case entitled Jn re Kulbir Kaur, Case No. 19-30710-KRH, filed on
February 11, 2019, in this district, and with the intent to defeat the provisions of Title 11,
knowingly and fraudulently transferred property, to wit: KULBIR KAUR fraudulently
transferred the deed of HOME 1, a single family dwelling in the Eastern District of Virginia, and
the equity accumulated in the dwelling, to defendant KARMANPREET SINGH.

(All in violation of Title 18, United States Code, Section 152(7) and 2.)

CRIMINAL FORFEITURE

43. Upon conviction of the offenses set forth in Counts One, Two, and Four of this
Indictment, the defendants, KULBIR KAUR (also known as “LOVELY”) and
HARMANPREET SINGH, shall forfeit to the United States of America, pursuant to Title 18,
United States Code, Section 1594(d), and Federal Rule of Criminal Procedure 32.2:

a. Any property, real or personal, constituting or derived from, any proceeds
obtained, directly or indirectly, as the result of the violation, and any property

traceable to such property; and

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b. Any property, real or personal, that was involved in, used, or intended to be used
to commit or to facilitate the commission of the violation, and any property
traceable to such property.

44. Upon conviction of the offense in violation of Title 8, United States Code, Section
1324 set forth in Count Three of this Indictment, the defendants, KULBIR KAUR (also known
as “LOVELY”) and HARMANPREET SINGH, shall forfeit to the United States of America,
pursuant to Title 18, United States Code, Section 982(a)(6), Title 8, United States Code, Section
1324(b)(1), Title 28, United States Code, Section 2461(c), and Federal Rule of Criminal
Procedure 32.2:

a. Any conveyance, including any vessel, vehicle, or aircraft used in the commission
of the offense of which the person is convicted; and

b. Any property, real or personal —

i. that constitutes, or is derived from or is traceable to the proceeds
obtained directly or indirectly from the commission of the offense
of which the person is convicted; or

li. that is used to facilitate, or is intended to be used to facilitate, the
commission of the offense of which the person is convicted.

45. | Upon conviction of the offenses in violation of Title 18, United States Code,
Sections 371 and 152 set forth in Counts Six and Seven of this Indictment, the defendants,
KULBIR KAUR (also known as “LOVELY”) and HARMANPREET SINGH, shall forfeit to the
United States of America, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title

28, United States Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2, any

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property, real or personal, which constitutes or is derived from proceeds traceable to the

offenses.

46. If any property that is subject to forfeiture above, as a result of any act or

omission of the defendant, (a) cannot be located upon the exercise of due diligence, (b) has been

transferred to, sold to, or deposited with a third party, (c) has been placed beyond the jurisdiction

of the Court, (d) has been substantially diminished in value, or (e) has been commingled with

other property that cannot be divided without difficulty, it is the intention of the United States to

seek forfeiture of any other property of the defendant, as subject to forfeiture under Title 21,

United States Code, Section 853(p).

By:

(In accordance with Title 18, United States Code, Sections 1594(d), 982(a)(6),
981(a)(1)(C); Title 28, United States Code, Section 2461(c); Title 21, United States Code,
Section 853(p); Title 8, United States Code, Section 1324(b)(1).)

A TRUE BILL:

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JESSICA D. ABER
United States Attorney Pursuant to the E-Government Act,
the original of this page has been filed
. q under seal in the Clerk’s Office

Avi Panth
Assistant United States Attorney
United States Attorney’s Office

KRISTEN M. CLARKE
Assistant Attorney General

We

Matthew Thiman
Trial Attorney
Civil Rights Division, United States Department of Justice

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